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                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

In re:                                                         §
                                                               §
PAYSON PETROLEUM 3 WELL,                                       §       CASE NO. 17-40180
2014, L.P.,                                                    §
                                                               §       Chapter 7
         Debtor.                                               §
                                                               §
                                                               §
JASON R. SEARCY, CHAPTER 11                                    §
TRUSTEE FOR PAYSON                                             §
PETROLEUM, INC.,                                               §
                                                               §
         Plaintiff,                                            §
                                                               § Adversary Proceeding No. 18-04076
                v.                                             §
                                                               §
NEIL AGRAWAL, ET. AL.,                                         §
                                                               §
         Defendants.                                           §

                                                        JOINDER

TO THE HONORABLE BRENDA T. RHOADES, U.S. BANKRUPTCY JUDGE:

         COMES NOW defendant Yanhua Shi and files this Joinder, joining in and seeking the

relief requested in:

         (i)         the Motion of Various Defendants to Withdraw the Reference; and

         (ii)        the Motion of Various Defendants to Dismiss and Brief in Support.




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         RESPECTFULLY SUBMITTED this 25th day of October, 2018.

                                                                   MUNSCH HARDT KOPF & HARR P.C.

                                                                   /s/ Davor Rukavina
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                                                                   COUNSEL FOR MOVANTS




                                         CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on the 25th day of October, 2018, a true and
correct copy of the foregoing document was served upon the attached service list via the Court’s
CM/ECF system and/or first-class U.S. mail, postage prepaid, including on counsel for the
Plaintiff.

                                                                   /s/ Davor Rukavina
                                                                      Davor Rukavina, Esq.




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